         Case 8:17-cv-01580-TDC Document 42 Filed 12/05/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Southern Division

NEFERTITI WINTERS,                        :
                                          :
                        Plaintiff,        :
                                          :
v.                                        :                 Civil Case No. 8:17-cv-01580-TDC
                                          :
SANTANDER CONSUMER USA,                   :
                                          :
                        Defendant.        :
__________________________________________:

                                NOTICE OF SETTLEMENT

       Plaintiff, Nefertiti Winters, by counsel, hereby notifies the Court that the she has reached

a settlement with Santander Consumer USA in this case and the parties are presently working to

draft and finalize the settlement agreement. Within thirty (30) days or such other time period

ordered by the Court, the parties shall submit a Stipulation of Dismissal or Dismissal Order for

entry by the Court.

                                             Respectfully submitted,
                                             NEFERTITI WINTERS


                                             By:     /s/ Kristi C. Kelly
                                             Kristi Cahoon Kelly, Esq. (No. 07244)
                                             Kelly & Crandall, PLC
                                             3925 Chain Bridge Road, Suite 202
                                             Fairfax, Virginia 22030
                                             (703) 424-7576 - Telephone
                                             (703) 591-0167 - Facsimile
                                             E-mail: kkelly@kellyandcrandall.com
                                             Counsel for Plaintiff
         Case 8:17-cv-01580-TDC Document 42 Filed 12/05/18 Page 2 of 2



                               CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of December, 2018, I will electronically file the
foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
notification of such filing (NEF) to all counsel of record.



                                                   /s/ Kristi C. Kelly
                                           Kristi C. Kelly, Esq. (No. 07244)
                                           KELLY & CRANDALL, PLC
                                           3925 Chain Bridge Road, Suite 202
                                           Fairfax, VA 22030
                                           (703) 424-7572
                                           (703) 591-0167 Facsimile
                                           Email: kkelly@kellyandcrandall.com
                                           Counsel for Plaintiff
